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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                v.                                      Criminal Action No. 2:13cr18

 MICHELLE LEE STOCKING,
           Defendant.


                      ORDER/OPINION REGARDING PLEA OF GUILTY

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Michelle Lee Stocking, in person and by counsel, Dorwin Wolfe, appeared on May 29, 2013. The

 Government appeared by Stephen Warner, its Assistant United States Attorney.

        The Court determined that Defendant was prepared to enter a plea of “Guilty” to Count Four

 of the Indictment. Thereupon, the Court proceeded with the Rule 11 proceeding by first placing

 Defendant under oath. The Court determined that Defendant’s plea was pursuant to a written plea

 agreement, and asked the Government to tender the original to the Court. The Court asked counsel for

 the Government to summarize the written Plea Agreement. Defendant stated the agreement as

 summarized by counsel for the Government was correct and complied with her understanding of the

 same. The Court ORDERED the written Plea Agreement filed.

        The Court next inquired of Defendant concerning her understanding of her right to have an

 Article III Judge hear the entry of her guilty plea and her understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant stated in open court that she voluntarily waived

 her right to have an Article III Judge hear and accept her plea and voluntarily consented to the

 undersigned Magistrate Judge hearing and accepting her plea, and tendered to the Court a written

 Waiver of Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver
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 and consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred

 in by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of her

 counsel and the representations of the Government, the Court finds that the oral and written waiver of

 Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and voluntarily

 given and the written waiver and consent was freely and voluntarily executed by Defendant, Michelle

 Lee Stocking, only after having had her rights fully explained to her and having a full understanding

 of those rights through consultation with her counsel, as well as through questioning by the Court. The

 Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a Magistrate Judge filed

 and made part of the record.

        The undersigned Magistrate Judge examined Defendant relative to her knowledgeable and

 voluntary execution of the written plea bargain agreement signed by her, and determined the entry into

 said written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant.

 The undersigned inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated she understood the terms of the written plea agreement and also stated that it

 contained the whole of her agreement with the Government and no promises or representations were

 made to her by the Government other than those terms contained in the written plea agreement.

        The undersigned reviewed with Defendant Count Four of the Indictment, including the elements

 the United States would have to prove at trial, charging her with aiding and abetting in the possession

 of materials used in the manufacture of methamphetamine.          From said review the undersigned

 Magistrate Judge determined Defendant understood the nature of the charge pending against her.

        The undersigned then reviewed with Defendant and determined Defendant understood the

 possible statutory maximum sentence which could be imposed upon her conviction or adjudication of

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 guilty on that charge was imprisonment for a term of not more than ten (10) years; understood that a

 fine of not more than $250,000.00 could be imposed; understood that both fine and imprisonment could

 be imposed; understood she would be subject to up to three (3) years of supervised release; and

 understood the Court would impose a special mandatory assessment of $100.00 for the felony

 conviction payable within 40 days following entry of her guilty plea. She also understood that her

 sentence could be increased if she had a prior firearm offense, violent felony, or drug conviction. She

 also understood she might be required by the Court to pay the costs of her incarceration and supervised

 release.

            The undersigned also reviewed with Defendant her conditional waiver of appellate rights as

 follows:

 Ct:        Did you discuss with Mr. Wolfe and did you understand from that discussion that under

            paragraph 14 of your written plea agreement if the District Judge’s actual sentence is consistent

            with a guideline-calculated sentence which has a total adjust offense level of 21 or lower, then

            you are giving up, waiving, your right that you had to directly appeal your conviction and

            sentence to the Fourth Circuit Court of Appeals within 14 days of the Judge’s oral

            announcement of your sentence, pursuant to Title 18 United States Code, Section 3742?

 Def:       Yes, sir.

 Ct:        And you’re further giving up or waiving your right to challenge the sentence collaterally in the

            manner in which it was determined under 28 USC section 2255, is that correct?

 Def:       Yes, sir.

 Ct:        And you intended to give up those valuable direct appeal rights and collateral attack rights as

            set forth in paragraph 14 of your written plea agreement?

 Def:       Yes, sir.

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 Ct:     Now, what that means as a practical matter, Ms. Stocking, and I’m not trying to beat you with

         it, but I want you to understand as a practical matter, while you’re sitting in jail, or awaiting

         designation to go to jail, if you file an appeal or if you file a writ of habeas corpus motion, the

         Court is entitled to look at the record of this proceeding, the record of your sentencing hearing,

         and if the court determines in reviewing whatever you filed that your actual sentence was the

         same as or the equivalent of a guideline-calculated sentence with a total adjusted guideline level

         of 21 or lower, the court can throw out your direct appeal, the court can throw out your

         collateral attack or challenge, without giving you a further opportunity to be heard. Do you

         understand that?

 Def:    Yes, sir.

         From the foregoing colloquy the undersigned determined that Defendant understood her

 appellate rights and knowingly gave up those rights pursuant to the conditions in the written plea

 bargain agreement.

         The undersigned Magistrate Judge inquired of Defendant, her counsel, and the Government

 as to the non-binding recommendations and stipulations contained in the written plea bargain agreement

 and determined that Defendant understood, with respect to the plea bargain agreement and to

 Defendant’s entry of a plea of guilty to the felony charge contained in Count Four of the Indictment,

 the undersigned Magistrate Judge would write the subject Order and would further order a pre-sentence

 investigation report be prepared by the probation officer attending the District Court, and only after the

 District Court had an opportunity to review the pre-sentence investigation report, would the District

 Court adjudicate the Defendant guilty of the felony offense contained in Count Four of the Indictment

 and make a determination as to whether to accept or reject any recommendation or stipulation contained



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 within the plea agreement or pre-sentence report. The undersigned reiterated to the Defendant that the

 District Judge may not agree with the recommendations or stipulations contained in the written

 agreement. The undersigned Magistrate Judge further advised Defendant, in accord with Federal Rule

 of Criminal Procedure 11, that in the event the District Court Judge refused to follow the non-binding

 recommendations or stipulations contained in the written plea agreement and/or sentenced her to a

 sentence which was different from that which she expected, she would not be permitted to withdraw

 her guilty plea. Defendant acknowledged her understanding and Defendant maintained her desire to

 have her plea of guilty accepted. Defendant in particular understood that, although she and the

 government had stipulated that the shake and bake method of manufacturing methamphetamine had

 been used, and that the chemicals used in this process, if not properly stored, could be toxic and

 dangerous, the parties would leave for the District Judge to determine if the facts of her case are

 extraordinary enough to trigger the application of the “risk” enhancement in Guideline 2D1.1(b)(13).

        Defendant also understood that her actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted.      The undersigned also advised,

 and Defendant stated that she understood, that the Sentencing Guidelines are no longer mandatory, and

 that, even if the District Judge did not follow the Sentencing Guidelines or sentenced her to a higher

 sentence than she expected, she would not be permitted to withdraw her guilty plea. Defendant further

 understood there was no parole in the federal system, although she may be able to earn institutional

 good time, and that good time was not controlled by the Court, but by the Federal Bureau of Prisons.

        Thereupon, Defendant, Michelle Lee Stocking, with the consent of her counsel, Dorwin Wolfe,

 proceeded to enter a verbal plea of GUILTY to the felony charge contained in Count Four of the

 Indictment.



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         The Court heard the testimony of West Virginia State Trooper First Class Kessel, who testified

 he is assigned to the Bureau of Criminal Investigations, and is clandestine lab certified. Trooper Kessel

 testified that on September 4, 2012, he was called by another State Trooper who had conducted a traffic

 stop on the vehicle which Defendant was driving. Defendant’s co-defendant Allen Greenwalt was a

 passenger in that vehicle. That officer suspected the vehicle contained a meth lab, and got written

 consent to search the vehicle. Upon searching, the officers found two clear bottles containing an active

 methamphetamine lab under the front passenger seat of the vehicle. They also seized other items

 consistent with a shake and bake methamphetamine lab. Board of Pharmacy records indicated

 Defendant had purchased pseudoephedrine consistent with Counts 12 through 16 of the Indictment.

 The West Virginia State Police Laboratory confirmed the presence of methamphetamine in the bottles

 seized from the vehicle.

         The undersigned United States Magistrate Judge concludes Defendant’s plea of guilty to the

 offense charged in Count Four of the Indictment is supported by the testimony of Trooper Kessel.

         Upon consideration of all of the above, the undersigned Magistrate Judge finds that Defendant

 is fully competent and capable of entering an informed plea; Defendant is aware of and understood her

 right to have an Article III Judge hear and accept her plea and elected to voluntarily consent to the

 undersigned United States Magistrate Judge hearing and accepting her plea; Defendant understood the

 charges against her, not only as to the Indictment as a whole, but in particular as to Count Four of the

 Indictment; Defendant understood the consequences of her plea of guilty, including the maximum

 statutory penalty; Defendant made a knowing and voluntary plea of guilty to Count Four of the

 Indictment; and Defendant’s plea is independently supported by the testimony of Trooper Kessel,

 which provides, beyond a reasonable doubt, proof of each of the essential elements of the charge to

 which Defendant has pled guilty.


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         The undersigned Magistrate Judge therefore ACCEPTS Defendant’s plea of guilty to the

 felony charge contained Count Four of the Indictment and recommends she be adjudged guilty on said

 charge as contained in Count Four of the Indictment and have sentence imposed accordingly.

         The undersigned further directs that a pre-sentence investigation report be prepared by the adult

 probation officer assigned to this case.

         Defendant is continued on release pursuant to an Order Setting Conditions of Release

 previously entered in this case.

         Defendant requested modification of her conditions of release to allow her contact with her

 boyfriend, co-defendant Greenwalt. That request has been taken under advisement pending further

 information.

         It is so ORDERED.

         The Clerk of the Court is directed to send a copy of this Order to counsel of record.

 DATED: May 30, 2013.
                                                         John S. Kaull
                                                         JOHN S. KAULL
                                                         UNITED STATES MAGISTRATE JUDGE




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